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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

DERRICK ALLEN,                                 )
                                               )
               Plaintiff,                      )
                                               )      Civil Action No. 1:24-cv-00166 (UNA)
       v.                                      )
                                               )
GUILFORD TECHNICAL                             )
COMMUNITY COLLEGE,                             )
                                               )
                Defendant.                     )

                                  MEMORANDUM OPINION
       This matter is before the court on its initial review of plaintiff’s pro se complaint

(“Compl.”), ECF No. 1, and application for leave to proceed in forma pauperis (“IFP App.”), ECF

No. 2. The court grants plaintiff’s IFP application and, for the reasons expressed below, it

dismisses this matter without prejudice.

       At the outset, the court notes that plaintiff appears to be located in the District of Columbia,

but he is currently unhoused. See Compl. at 1; IFP App. ¶ 6. While the court is certainly

understanding of plaintiff’s circumstances, the Local Rules of this court nonetheless require that a

pro se plaintiff must provide both their full residence address and telephone number in the caption

of their first filing or risk dismissal. See D.C. LCvR 5.1(c)(1). Without this information, the court

cannot communicate with plaintiff regarding this case.

       The allegations do not fare much better. Plaintiff sues Guilford Technical Community

College, located in Jamestown, North Carolina. Compl. at 1. He contends that “submitted [his]

application for graduation which was denied for May 2024 in re Paralegal Certification.” Id. He

fundamentally disagrees with this denial, and asserts, to the contrary, that he has met the necessary

qualifications for graduation. See id. at 1–2. He alleges that, as a result of these circumstances, he

has been unable to “maintain gainful employment,” and he also broadly asserts, without any
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supporting detail or explanation, that defendant violated his First, Eighth, and Fourteenth

Amendment rights. See id. He demands $7 million in damages. Id. at 2.

        The subject matter jurisdiction of the federal district courts is limited and is set forth

generally at 28 U.S.C. §§ 1331 and 1332. Under those statutes, federal jurisdiction is available

only when a “federal question” is presented, or if the parties are of diverse citizenship and the

amount in controversy exceeds $75,000. A plaintiff seeking relief in the district court must at least

plead facts that bring the suit within the court’s jurisdiction, see Fed. R. Civ. P. 8(a), and failure to

plead such facts warrants dismissal of the action, see Fed. R. Civ. P. 12(h)(3).

        First, plaintiff’s allegations do not raise any federal question. Although he cites to the

United States Constitution, he provides no information necessary to state a cognizable claim.

Indeed, a plaintiff’s “allegations must be enough to raise a right to relief above the speculative

level[.]” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citations omitted); see

Aktieselskabet AF 21. Nov.2001 v. Fame Jeans, Inc., 525 F.3d 8, 16 n.4 (D.C. Cir. 2008) (“We

have never accepted ‘legal conclusions cast in the form of factual allegations’ because a complaint

needs some information about the circumstances giving rise to the claims.”) (quoting Kowal v.

MCI Commc’ns Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994)).

        Put differently, federal question jurisdiction “must affirmatively appear clearly and

distinctly. The mere suggestion of a federal question is not sufficient to establish the jurisdiction

of federal courts[,]” Johnson v. Robinson, 576 F.3d 522, 522 (D.C. Cir. 2009) (citing Bilal v.

Kaplan, 904 F.2d 14, 15 (8th Cir.1990) (per curiam)). Here, plaintiff has failed to articulate the

deprivation of a fundamentally protected right. “Events may not have unfolded as [p]laintiff

wished, but his dissatisfaction . . . [does] not form a basis” for a constitutional violation. Melton

v. District of Columbia, 85 F. Supp. 3d 183, 193 (D.D.C. 2015).
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          Second, plaintiff has also failed to establish diversity of citizenship. It is a “well-

  established rule” that, for an action to proceed in diversity, the citizenship requirement must be

  “assessed at the time the action is filed.” Freeport-McMoRan, Inc. v. K N Energy, Inc., 498 U.S.

  426, 428 (1991). Indeed, “the citizenship of every party to the action must be distinctly alleged

  [in the complaint] and cannot be established presumptively or by mere inference.” Meng v.

  Schwartz, 305 F. Supp. 2d 49, 55 (D.D.C. 2004) (citation omitted). Thus, “an allegation of

  residence alone is insufficient to establish the citizenship necessary for diversity jurisdiction.”

  Novak v. Capital Mgmt. & Dev. Corp., 452 F.3d 902, 906 (D.C. Cir. 2006) (quoting Naartex

  Consulting Corp. v. Watt, 722 F.2d 779, 792 n.20 (D.C. Cir. 1983)). As noted above, plaintiff

  has not pleaded a residence, let alone his citizenship.

        And even if he had, this matter presents no connection to the District of Columbia

whatsoever. Venue in a civil action is proper only in (1) the district where any defendant resides,

if all defendants reside in the same state in which the district is located, (2) in a district in which a

substantial part of the events or omissions giving rise to the claim occurred (or a substantial part

of the property that is the subject of the action is situated), or (3) in a district in which any defendant

may be found, if there is no district in which the action may otherwise be brought. See 28 U.S.C.

§ 1391(b). The defendant is not located in District of Columbia, and all of the operative events

giving rise to plaintiff’s intended claims appear to have occurred in North Carolina.
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       For all of these reasons, this case is dismissed without prejudice. Plaintiff’s pending

motion for appointment of counsel, ECF No. 4, is denied as moot. A separate order accompanies

this memorandum opinion.

Date: April 23, 2024

                                           Tanya S. Chutkan
                                           TANYA S. CHUTKAN
                                           United States District Judge
